USCA Case #23-1179   Document #2035882              Filed: 01/17/2024   Page 1 of 30


  [ORAL ARGUMENT SCHEDULED FOR FEBRUARY 14, 2024]
                         No. 23-1179
         IN THE UNITED STATES COURT OF APPEALS
          FOR THE DISTRICT OF COLUMBIA CIRCUIT
                        _________________________________

                            ALON FARHY,

                                            Petitioner-Appellee

                                       v.

           COMMISSIONER OF INTERNAL REVENUE,

                                            Respondent-Appellant
                        _________________________________

 ON APPEAL FROM THE DECISION OF THE UNITED STATES
            TAX COURT, CASE NO. 10647-21L
                        _________________________________

              REPLY BRIEF FOR THE APPELLANT
                        _________________________________




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                                                                             15256057.1
USCA Case #23-1179        Document #2035882   Filed: 01/17/2024   Page 2 of 30
                                       -i-

            CERTIFICATE AS TO PARTIES, RULINGS,
                    AND RELATED CASES

      A.    Parties and Amici. The parties, intervenors, and amici

appearing in the Tax Court and in this Court are Alon Farhy and the

Commissioner of Internal Revenue. There were no amici or intervenors

appearing before the Tax Court, and there are no amici or intervenors

who have appeared in this Court.

      B.    Rulings Under Review. The rulings under review are the

Tax Court’s decision by Judge L. Paige Marvel, entered on April 18,

2023, and opinion, entered on April 3, 2023, and published at 160 T.C.

No. 6. (See JA240–54.)

      C.    Related Cases. This case was not previously before this

Court or any other appellate court. Counsel is not aware of any related

cases currently pending in this Court or in any other court, as provided

in Cir. R. 28(a)(1)(C).




                                                                       15256057.1
USCA Case #23-1179              Document #2035882                   Filed: 01/17/2024          Page 3 of 30
                                                     -ii-

                                   TABLE OF CONTENTS

                                                                                                      Page

Certificate as to parties, rulings, and related cases .................................. i
Table of contents .........................................................................................ii
Table of authorities .................................................................................. iii
Summary of argument ............................................................................... 1
Argument:

        A.       Under a proper interpretation of the statutory term “all
                 taxes,” Section 6201(a) authorizes assessment of the
                 Section 6038(b) penalty............................................................ 4

        B.       The penalties that Farhy contends are un-assessable
                 actually reinforce the Commissioner’s argument ................. 13

        C.       I.R.C. §§ 7601 and 7602 support the Commissioner’s
                 argument ................................................................................ 16

        D.       Farhy’s remaining arguments are unavailing ...................... 18

Conclusion ................................................................................................. 23
Certificate of compliance .......................................................................... 24




                                                                                                       15256057.1
USCA Case #23-1179          Document #2035882                 Filed: 01/17/2024        Page 4 of 30
                                               -iii-

                            TABLE OF AUTHORITIES

Cases:                                                                                    Page(s)

   Bardahl Mfg. Corp. v. United States,
      452 F.2d 604 (9th Cir. 1971) ......................................................... 11
   Federal Land Bank of St. Paul v. Bismarck Lumber Co.,
      314 U.S. 95 (1941) ........................................................................... 6
   Helvering v. Morgan’s Inc.,
      293 U.S. 121 (1934) ...................................................................... 6-7
   Lac du Flambeau Band of Superior Lake Chippewa
      Indians v. Coughlin, 599 U.S. 382 (2023) ............................... 12-13
   Masters Pharm., Inc. v. DEA,
      861 F.3d 206 (D.C. Cir. 2017).................................................... 6, 10
   Motor Fuel Carriers, Inc. v. United States,
      420 F.2d 702 (Ct. Cl. 1970) ...................................................... 10-11
   National Federation of Independent Business v.
      Sebelius, 567 U.S. 519 (2012) ........................................... 3, 5, 18-19
   Taylor v. United States,
      292 F. App’x 383 (5th Cir. 2008) ................................................... 17
   United States v. Basye,
      410 U.S. 441 (1973) ....................................................................... 20
   United States v. Bronstein,
      849 F.3d 1101 (D.C. Cir. 2017) ....................................................... 9
   United States v. Ernst & Whinney,
      735 F.2d 1296 (11th Cir. 1984) ..................................................... 17
   United States v. Foster Lumber Co.,
      429 U.S. 32 (1976) ......................................................................... 20
   United States v. Helton,
      944 F.3d 198 (4th Cir. 2019) ........................................................... 6
   United States v. Lee, Goddard & Duffy, LLP,
      No. SACA06-408DOC, 2006 WL 2404137
      (C.D. Cal. June 29, 2006) .............................................................. 17
   United States v. Phillip Morris USA Inc.,
      566 F.3d 1095 (D.C. Cir. 2009) ....................................................... 6
   United States v. Vance,
      256 F.2d 82 (6th Cir. 1958) ........................................................... 15



                                                                                              15256057.1
USCA Case #23-1179            Document #2035882                    Filed: 01/17/2024          Page 5 of 30
                                                   -iv-

Cases (cont’d):                                                                                  Page(s)

   West Virginia v. EPA,
      142 S. Ct. 2587 (2023) ................................................................... 21
   Whistleblower 22716-13W v. Commissioner,
      146 T.C. 84 (2016) .......................................................................... 10
   Ysleta Del Sur Pueblo v. Texas,
      596 U.S. 685 (2022) ....................................................................... 14

Statutes:

   11 U.S.C.:
      § 101(27) ......................................................................................... 12

   Internal Revenue Code (26 U.S.C.):
      § 30 ................................................................................................. 15
      § 45 ................................................................................................. 13
      § 45(b)(7)(B) ................................................................................... 14
      § 45(b)(7)(B)(i)(II)........................................................................... 14
      § 45(b)(7)(B)(ii) ............................................................................... 14
      § 48(a)(10)(B) ................................................................................. 14
      § 179D(b)(4)(B) ............................................................................... 14
      § 531 ............................................................................................... 11
      § 3640 (1939) .................................................................................. 20
      § 5000A(b)(1) .................................................................................. 18
      § 5000A(g) ................................................................................. 18-19
      § 5761 ............................................................................................. 15
      § 5761(a) ..................................................................................... 4, 14
      § 6038 ............................................................................................. 22
      § 6038(b) .......................................... 2-4, 10-11, 13, 15-16, 18, 20-22
      § 6038(c) ......................................................................................... 15
      § 6201 ............................................................................. 3, 11, 18, 19
      § 6201(a) .......................................................... 1-5, 7-9, 11-16, 18-22
      § 6201(b) ........................................................................................... 4
      § 6213 ............................................................................................... 8
      § 6601(f)(3) ..................................................................................... 11
      §§ 6651-6658 .................................................................................. 10
      § 6652 ....................................................................................... 10, 11


                                                                                                       15256057.1
USCA Case #23-1179            Document #2035882                   Filed: 01/17/2024          Page 6 of 30
                                                   -v-

Statutes (cont’d):                                                                              Page(s)

   Internal Revenue Code (26 U.S.C.) (cont’d):
      § 6665(a) ........................................................................................... 8
      § 6671(a) ........................................................................................... 8
      § 6677 ............................................................................................. 11
      § 6679 ............................................................................................. 11
      § 6686 ............................................................................................. 11
      § 6688 ............................................................................................. 11
      § 6694–95 ....................................................................................... 17
      § 6707 ............................................................................................. 11
      § 7268 ............................................................................................. 15
      § 7269 .................................................................................... 4, 14-15
      § 7601 .................................................................................... 3, 16-17
      § 7602 .................................................................................... 3, 16-17
      § 7602(a) .................................................................................... 16-17
      § 7602(b) ......................................................................................... 17
      § 7604 ............................................................................................. 17
      § 7609 ............................................................................................. 17
      § 7701(c) ........................................................................................... 7

   Pub. L. No. 113–295, 128 Stat. 4010 (2014) ...................................... 15


Miscellaneous:

   Antonin Scalia & Bryan Garner, Reading Law:
      The Interpretation of Legal Texts 132 (2012) ............................. 6, 9




                                                                                                     15256057.1
USCA Case #23-1179   Document #2035882               Filed: 01/17/2024   Page 7 of 30



  [ORAL ARGUMENT SCHEDULED FOR FEBRUARY 14, 2024]
         IN THE UNITED STATES COURT OF APPEALS
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                                No. 23-1179

                             ALON FARHY,

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                                        v.

           COMMISSIONER OF INTERNAL REVENUE,

                                             Respondent-Appellant
                         _________________________________

 ON APPEAL FROM THE DECISION OF THE UNITED STATES
            TAX COURT, CASE NO. 10647-21L
                         _________________________________

               REPLY BRIEF FOR THE APPELLANT
                         _________________________________



                     SUMMARY OF ARGUMENT

     I.R.C. § 6201(a) both requires and authorizes the Treasury

Secretary “to make the inquiries, determinations, and assessments of

all taxes (including interest, additional amounts, additions to the tax,

and assessable penalties) imposed by this title, or accruing under any

former internal revenue law. . . .” As explained in the Commissioner’s

opening brief, the assessment authority granted by I.R.C. § 6201(a)



                                                                              15256057.1
USCA Case #23-1179    Document #2035882       Filed: 01/17/2024   Page 8 of 30
                                    -2-

should be read broadly to cover the penalty imposed by I.R.C. § 6038(b).

This interpretation follows from the text of Section 6201(a), its role in

the Code, its history, and the absurdities that would result from a

narrower interpretation.

     Farhy fails to offer a persuasive competing interpretation of

Section 6201(a), instead simply asserting that it “means what it says.”

(Resp. Br. 17.)1 But that tautology is no answer to the textual,

historical, and practical analysis provided by the Commissioner.

Seeking to bolster his position, Farhy repeatedly notes that there are

several penalties within the Code for which he claims the IRS lacks

assessment authority, presumably because their text contains no

explicit authorization. (See, e.g., Resp. Br. 10 n.1, 22 n.4.) But some of

these provisions contain language suggesting that Congress did intend

that the IRS have authority to assess the penalties, reinforcing the

Commissioner’s argument that Section 6201(a) extends to penalties

that do not have an express assessment authorization. And two of the

cited penalties are (as discussed in our opening brief) ones that



     1 “Opening Br.” references are to the Commissioner’s appellant

brief. “Resp. Br.” references are to Farhy’s appellee brief.


                                                                       15256057.1
USCA Case #23-1179    Document #2035882       Filed: 01/17/2024   Page 9 of 30
                                    -3-

Congress expressly said must be collected through a civil lawsuit. Those

provisions likewise support the Commissioner’s interpretation of

Section 6201(a).

     Farhy acknowledges the Commissioner’s argument (Opening Br.

19-20) that the Tax Court’s narrow interpretation of Section 6201(a)

hampers the IRS’s ability to “make inquiries [and] determinations”

regarding liability for penalties. But he counters that the IRS may

investigate and administer the Section 6038(b) penalty (but not assess

it) under I.R.C. §§ 7601 and 7602. (Resp. Br. 20.) However, these

sections only refer to the IRS’s authority to investigate a taxpayer’s

liability for “internal revenue taxes.” Thus, these sections actually

support the Commissioner’s position that the Section 6038(b) penalty is

a “tax” for purposes of Section 6201(a).

     Farhy’s additional arguments are similarly unavailing. He

discusses National Federation of Independent Business v. Sebelius, 567

U.S. 519 (2012) (“NFIB”), but his discussion does not sweep away the

clear import of the Supreme Court’s interpretation of Section 6201(a) in

that case. And he also purports to address the Commissioner’s

argument that the history of Section 6201 shows that Congress did not



                                                                        15256057.1
USCA Case #23-1179   Document #2035882        Filed: 01/17/2024   Page 10 of 30
                                    -4-

intend a material change from the 1939 Code’s language of “taxes and

penalties,” but he wrongly claims that the Court may not draw a

negative implication from Congress’s statement that only certain

changes were intended to be material. Ultimately, none of his

counterarguments alters the conclusion that Section 6201(a) authorizes

the Commissioner to assess all penalties set forth in the Code, unless

Congress expressly provided for an alternative collection mechanism.

Farhy also fails to respond to many key arguments in our opening brief,

suggesting that he has no response to those points.

                              ARGUMENT

      A.   Under a proper interpretation of the statutory term
           “all taxes,” Section 6201(a) authorizes assessment of
           the Section 6038(b) penalty

      In our opening brief, we explained that the best interpretation of

Section 6201(a)’s reference to “all taxes (including…) imposed by this

title” is that it covers all exactions imposed by the Code, unless

Congress has explicitly provided otherwise, as it did in I.R.C. § 6201(b)

(listing taxes that may not be assessed) and I.R.C. §§ 5761(a) and 7269

(listing penalties that must be collected via a civil action). (Opening Br.

14-18.) This interpretation follows from the broad language of Section



                                                                        15256057.1
USCA Case #23-1179    Document #2035882       Filed: 01/17/2024   Page 11 of 30
                                    -5-

6201(a), its role in tax enforcement, and its history. (Opening Br. 14-

25.)

       Farhy does not offer a counter-interpretation of the term “all

taxes” in Section 6201(a). Rather, he only offers the tautology that it

“means what it says.” (Resp. Br. 17.) But it is no help to declare that

Section 6201(a) “means what it says.” The term “all taxes” in Section

6201(a)—with the parenthetical’s modification—is neither a term of art

nor self-explanatory. Indeed, as the Supreme Court recognized in

NFIB, 567 U.S. at 546, Section 6201(a) defines the term “all taxes” more

broadly than its normal usage. (See Opening Br. 14-16; infra, 6-8.)

Thus, this Court should use additional interpretive tools to determine

its reach. (See Opening Br. 14-17, 19-23.)

       Farhy incorrectly asserts that the Commissioner’s interpretation

“rewrite[s]” Section 6201(a) by “adding” to its parenthetical the term

“all exactions imposed by this title.” (Br. 16-17.) He instead argues

that Section 6201(a) only applies to penalties that have an explicit

assessment authorization. (See, e.g., Resp. Br. 21 (claiming that

“Congress knows how to create a tax and how to create a penalty and

how to create rules for each”).) This argument is directly contrary to



                                                                        15256057.1
USCA Case #23-1179   Document #2035882        Filed: 01/17/2024   Page 12 of 30
                                    -6-

how the statutory term “including” is interpreted. As this Court has

explained, “it is well established that the word ‘include’ often precedes a

list of ‘illustrative’ examples. . . .” Masters Pharm., Inc. v. DEA, 861

F.3d 206, 221 (D.C. Cir. 2017) (quoting Federal Land Bank of St. Paul v.

Bismarck Lumber Co., 314 U.S. 95, 100 (1941)). Thus, “the term

‘including’ is not one of all-embracing definition, but connotes simply an

illustrative application of the general principle.” Federal Land Bank of

St. Paul, 314 U.S. at 100. See also Helvering v. Morgan’s Inc., 293 U.S.

121, 125, n.1 (1934) (“the verb ‘includes’ imports a general class, some of

whose particular instances are those specified in the definition”); United

States v. Helton, 944 F.3d 198, 206 (4th Cir. 2019) (“Because ‘include’

and its variations are more often than not the introductory term for an

incomplete list of examples, their use before a list is afforded a

presumption of nonexclusively in statutory interpretation.”) (cleaned

up); Antonin Scalia & Bryan Garner, Reading Law: The Interpretation

of Legal Texts 132 (2012) (“[T]he word include does not ordinarily

introduce an exhaustive list …. That is the rule both in good English

usage and in textualist decision-making.”) (citing United States v.




                                                                        15256057.1
USCA Case #23-1179   Document #2035882        Filed: 01/17/2024   Page 13 of 30
                                    -7-

Phillip Morris USA Inc., 566 F.3d 1095, 1115 (D.C. Cir. 2009), as an

example).

      And this principle expressly applies whenever the term

“including” appears in the Internal Revenue Code, as I.R.C. § 7701(c)

states: “The terms ‘includes’ and ‘including’ when used in a definition

contained in this title shall not be deemed to exclude other things

otherwise within the meaning of the term defined.” See, e.g., Morgan’s

Inc., 293 U.S. at 125, n.1 (noting the 1926 version of this statute in

interpreting the scope of a tax statute). While touting the text of

Section 6201(a), Farhy utterly fails to acknowledge the statute’s use of

“including” or to respond to our argument that “including” signals a

non-exhaustive list of items that are considered “taxes” for Section

6201(a) purposes.

      Instead of providing an interpretation of the term “all taxes,”

Farhy instead claims that penalties are cleanly separated into distinct

categories for assessment purposes, namely: 1) penalties designated as

taxes, 2) penalties having a standalone assessment authority, 3)

penalties having a “group assessment authority,” 4) penalties resulting

from a designated procedure, and 5) penalties with no assessment



                                                                         15256057.1
USCA Case #23-1179   Document #2035882        Filed: 01/17/2024   Page 14 of 30
                                    -8-

authority. (Opening Br. 7-9.) But a closer inspection of Farhy’s

asserted framework shows that Section 6201(a) is the root authority for

these categories: categories 1 and 3 both boil down to I.R.C. §§ 6665(a)

and 6671(a), which state that “additions to the tax,” “additional

amounts,” and “penalties provided by” Chapter 68, which includes

“assessable penalties,” may be assessed. But Section 6201(a) already

says that. Most of the penalties listed in category 2 are located in or

cross-referenced to Chapter 68 (as Farhy notes, Resp. Br. 8) and

therefore may be assessed under Section 6201(a), Section 6665(a), and

Section 6671(a). And category 4 refers to taxes and penalties covered by

deficiency procedures. But deficiency procedures are a restriction on

assessment (see I.R.C. § 6213, entitled “Restrictions Applicable to

Deficiencies”). The ultimate authority for assessing the taxes,

penalties, and interest that are subject to deficiency procedures is still

Section 6201(a).

      We submit that the better understanding of this confusing and

overlapping patchwork of provisions is that Congress granted the

Treasury Secretary general assessment authority for all exactions

imposed by the Code in Section 6201(a), and the other Code sections



                                                                        15256057.1
USCA Case #23-1179   Document #2035882        Filed: 01/17/2024   Page 15 of 30
                                    -9-

catalogued by Farhy—which in most cases do more work than just

provide assessment authority—reflect a belt-and-suspenders approach

to the extent they reiterate the assessment authority. See Scalia &

Garner, Reading Law at 176-77 (“Sometimes drafters do repeat

themselves and do include words that add nothing of substance, either

out of a flawed sense of style or to engage in the ill-conceived but

lamentably common belt-and-suspenders approach.”); see, e.g., United

States v. Bronstein, 849 F.3d 1101, 1110 (D.C. Cir. 2017) (noting belt-

and-suspenders problem in criminal statute but refusing to find

unconstitutional vagueness).

      Farhy also argues that the Commissioner’s argument renders the

term “assessable” in Section 6201(a) surplusage. (Resp. Br. 18.) Not so.

At the outset, Farhy’s argument that “Congress included the word

‘assessable’ on purpose to distinguish assessable penalties from

penalties that cannot be assessed” is circular. (Id.) Section 6201(a) is

what makes an “assessable penalty” assessable; the suggestion that a

provision outside Section 6201(a) is needed to determine that a penalty

is assessable begs the question why “assessable penalty” is included in

Section 6201(a) at all. We submit that the term “assessable penalty”—



                                                                        15256057.1
USCA Case #23-1179    Document #2035882        Filed: 01/17/2024   Page 16 of 30
                                    -10-

like other terms in the parenthetical—is illustrative rather limiting.

Masters Pharm., 861 F.3d at 221. The Court need not define the

boundaries of the term “assessable penalty” in this case, or even the

outer bounds of the phrase “all taxes (including …).” Rather, it need

only recognize that the phrase “all taxes . . . imposed by this title,” as

modified by the parenthetical, is broad enough to capture the Section

6038(b) penalty.

      The breadth of the phrase at issue is reinforced by the fact that it

includes the generic category of “additional amounts.” While

“additional amounts” does not include every conceivable monetary sum,

it includes, at the very least, various penalties listed in Chapter 68,

subchapter A (I.R.C. §§ 6651-6658). See Whistleblower 22716-13W v.

Commissioner, 146 T.C. 84, 92–96 (2016). Among those penalties are

penalties for failure to file various information returns (I.R.C. § 6652),

and the Section 6038(b) penalty is like those penalties. Although the

Tax Court has sought to limit the term “additional amounts” to

penalties listed in Chapter 68, the Court of Claims has rejected that

limitation. See Motor Fuel Carriers, Inc. v. United States, 420 F.2d 702,

706-07 (Ct. Cl. 1970) (holding that the accumulated earnings tax



                                                                         15256057.1
USCA Case #23-1179    Document #2035882        Filed: 01/17/2024   Page 17 of 30
                                     -11-

imposed by I.R.C. § 531 was an “assessable penalty, additional amount,

or addition to the tax” for purposes of I.R.C. § 6601(f)(3) even though it

is not found in Chapter 68; using “ordinary English,” “it can easily be

characterized as an ‘additional amount’ or an ‘addition to the tax.’”);

accord Bardahl Mfg. Corp. v. United States, 452 F.2d 604, 605 (9th Cir.

1971) (adopting reasoning of Motor Fuel).

      Farhy makes no response whatsoever to our argument that the

Section 6038(b) penalty is similar in nature to the types of penalties

specifically identified in Section 6201(a)’s non-exhaustive parenthetical.

(Opening Br. 16-17.) As we argued, the Tax Court acknowledged that

“there is no indication that this list is necessarily exclusive,” but it

erroneously thought that “[n]one of these limited inclusions in the term

‘taxes ... imposed by this title’ in section 6201 has any similarity to a

fixed-dollar information reporting penalty.” (Opening Br. 16-17.) As

noted above, “additional amounts” includes several fixed-dollar

reporting-failure penalties (I.R.C. § 6652), as does the list of “assessable

penalties” in Chapter 68 (I.R.C. §§ 6677, 6679, 6686, 6688, 6707).

      Finally, Farhy’s overarching argument that explicit assessment

authority is needed beyond that provided in Section 6201(a) is



                                                                           15256057.1
USCA Case #23-1179   Document #2035882        Filed: 01/17/2024   Page 18 of 30
                                   -12-

undermined by the fact the courts routinely interpret statutes to cover

matters that are not explicit in the statute. For example, in Lac du

Flambeau Band of Superior Lake Chippewa Indians v. Coughlin, 599

U.S. 382, 388-390 (2023), the Supreme Court held that an Indian tribe

is a “governmental unit” under the broad definition in 11 U.S.C.

§ 101(27), despite a long list of illustrative examples that does not

include Indian tribes. The Supreme Court rejected the tribe’s argument

that a specific reference to “tribes” was needed and instead decided that

tribes are included based on the “strikingly broad scope” of the statute.

Id. at 389. Notably, the Supreme Court did not consider it necessary to

determine whether Indian tribes fit into any of the enumerated types of

governmental units listed in the definitional statute.

      The same analysis should apply here. The clear thrust of Section

6201(a) is to cover the waterfront by granting Treasury the authority to

make “inquiries, determinations, and assessments of all taxes

(including interest, additional amounts, additions to the tax, and

assessable penalties) imposed by this title, or accruing under any

former internal revenue law.” This broad coverage—reaching to all of

title 26 and even former tax laws—“exudes comprehensiveness.”



                                                                        15256057.1
USCA Case #23-1179   Document #2035882        Filed: 01/17/2024   Page 19 of 30
                                    -13-

Coughlin, 599 U.S. at 388. The parenthetical list of items included with

“taxes” references interest and three types of penalties. Given that

“including” signals an illustrative list and not an exhaustive one, it is

reasonable to conclude that the Section 6038(b) penalty is covered by

Section 6201(a), regardless of whether it is an “assessable penalty,”

“additional amount,” or just another penalty “imposed by this title [26].”

      B.   The penalties that Farhy contends are un-assessable
           actually reinforce the Commissioner’s argument

      Farhy identifies several penalties within the Code for which he

claims the IRS lacks assessment authority, presumably because their

text contains no express assessment authorization. (Resp. Br. 10 n.1,

22 n.4.) Notably, Farhy does not identify any cases holding that the

IRS lacks the authority to assess these penalties. In any event,

although the cited penalty provisions do not use the magic language

that Farhy asserts is necessary to authorize assessment, some of the

cited provisions contain language suggesting that Congress did intend

that the IRS have authority to assess them, reinforcing the

Commissioner’s argument.

      For example, Farhy contends that the IRS lacks authority to

assess a penalty in I.R.C. § 45, presumably referencing the penalty in


                                                                        15256057.1
USCA Case #23-1179    Document #2035882        Filed: 01/17/2024   Page 20 of 30
                                    -14-

I.R.C. § 45(b)(7)(B)(i)(II) for the failure to pay prevailing wages in the

construction of certain qualified facilities. (Resp. Br. 10 n.1, 22 n.4.)

But Section 45(b)(7)(B)(ii) says deficiency procedures do not apply to the

“assessment or collection” of this penalty. I.R.C. § 45(b)(7)(B)(ii). This

language would be meaningless if the penalty could not be assessed in

the first place. But the only possible source of assessment authority for

this penalty is Section 6201(a).2 Thus, under Farhy’s reading of Section

6201(a), Section 45(b)(7)(B)(ii) is superfluous and makes no sense. See

Ysleta Del Sur Pueblo v. Texas, 596 U.S. 685, 698–99 (2022) (noting that

the Court normally seeks “to construe Congress’s work so that effect is

given to all provisions, so that no part will be inoperative or

superfluous, void or insignificant”) (cleaned up).

      Farhy also points out two penalties—in I.R.C. §§ 5761(a) and

7269—which the Commissioner discussed in his opening brief.

(Opening Br. 30.) These sections expressly provide that the penalties

should be recovered in a civil suit. Thus, where Congress intended to



      2 I.R.C. §§ 48 and 179D, which Farhy also identifies, merely say

that “[r]ules similar to the rules of section 45(b)(7)(B) shall apply.”
I.R.C. §§ 48(a)(10)(B), 179D(b)(4)(B). Therefore, this same analysis
applies to those provisions.


                                                                          15256057.1
USCA Case #23-1179   Document #2035882        Filed: 01/17/2024   Page 21 of 30
                                    -15-

make a penalty un-assessable, it has explicitly directed that it be

recovered in a civil suit. Farhy does not address this argument when

citing Sections 5761 and 7269.

      Otherwise, Farhy cites to a number of Code sections that simply

fail to support his point. (Resp. Br. 10 n.1.) He cites Section 30 as

containing an un-assessable penalty, but Section 30 has been repealed.

See Pub. L. No. 113–295, div. A, title II, § 221(a)(2)(A), 128 Stat. 4010,

4037 (2014). He claims that the Section 6038(c) penalty lacks

assessment authority, but as explained in our opening brief (at 21), that

penalty works by reducing the foreign tax credit, which, in turn,

increases the tax. And taxes may be assessed under Section 6201(a).

Finally, Farhy cites to a number of Code sections that involve criminal

offenses. See, e.g., United States v. Vance, 256 F.2d 82 (6th Cir. 1958)

(prosecution for violating I.R.C. § 7268).

      In short, the list of penalties cited by Farhy does not help him, and

it actually supports the Commissioner’s interpretation of Section

6201(a) as authorizing the assessment of penalties, including the

Section 6038(b) penalty, which include neither specific assessment

authority nor text requiring collection through a civil lawsuit.



                                                                        15256057.1
USCA Case #23-1179   Document #2035882       Filed: 01/17/2024   Page 22 of 30
                                   -16-

      C.   I.R.C. §§ 7601 and 7602 support the Commissioner’s
           argument

      In our opening brief, we explained that the Tax Court’s holding

has the anomalous effect of treating the Section 6038(b) penalty as

outside of Section 6201(a)’s mandate that the Commissioner make

“inquiries” and “determinations” of tax liability. (Opening Br. 19-20.)

Farhy argues that I.R.C. §§ 7601 and 7602 authorize the Commissioner

to make inquiries and determinations regarding Section 6038(b)

penalties. (Resp. Br. 20.) In so doing, Farhy ignores the text of those

provisions, which actually support the Commissioner’s point.

      Section 7601 provides that the Secretary of the Treasury may

make inquiries of “all persons therein who may be liable to pay any

internal revenue tax, and all persons owning or having the care and

management of any objects with respect to which any tax is imposed.”

I.R.C. § 7601 (emphasis added). It does not mention penalties—

assessable or otherwise. Section 7602(a) provides for the authority to

examine records and issue summonses, but it only refers to “any




                                                                       15256057.1
USCA Case #23-1179   Document #2035882       Filed: 01/17/2024   Page 23 of 30
                                   -17-

internal revenue tax” without mentioning penalties. I.R.C. § 7602(a).3

Thus, Sections 7601 and 7602 are examples of Congress using the term

“taxes” in a way that encompasses “penalties.” See United States v. Lee,

Goddard & Duffy, LLP, No. SACA06-408DOC (RNBX), 2006 WL

2404137, at *3 (C.D. Cal. June 29, 2006) (noting that that an

investigation for promoter penalties is a legitimate purpose for a

summons issued under Section 7602). See also United States v. Ernst &

Whinney, 735 F.2d 1296, 1305 n.16 (11th Cir. 1984) (“The IRS has the

ability to seek taxpayer records from Ernst, 26 U.S.C.A. §§ 7602, 7609,

compel disclosure, 26 U.S.C.A. § 7604, and ultimately assess penalties

against Ernst for preparing improper returns. 26 U.S.C.A. §§ 6694–5.”).

Thus, Sections 7601 and 7602 support the Commissioner’s contention



      3 Section 7602(b) extends the summons authority to investigation

of “any offense connected with the administration or enforcement of the
internal revenue laws.” But the courts have noted that this provision
was primarily intended to clarify that the summons authority is
available in criminal investigations. See Taylor v. United States, 292 F.
App’x 383, 386 (5th Cir. 2008) (“Section 7602(b), added in 1982 to the
statutory framework for IRS summonses, simply codified the extension
of the IRS’s summons power to investigations of a taxpayer’s criminal
tax-related liability.”). Its enactment was not intended to suggest that
the IRS’s authority under Section 7602(a) did not previously apply to
penalties.



                                                                       15256057.1
USCA Case #23-1179   Document #2035882      Filed: 01/17/2024   Page 24 of 30
                                  -18-

that Section 6201(a) should be interpreted as authorizing the IRS to

assess the Section 6038(b) penalty, as well as to make inquiries and

investigations supporting assessment.

      D.   Farhy’s remaining arguments are unavailing

      Farhy seeks to respond to three other arguments made in the

Commissioner’s opening brief, but each of his scant responses are

unpersuasive. His remaining arguments likewise lack merit.

      1.   As we stated in our opening brief (at 21-22), the Supreme

Court acknowledged in NFIB, 567 U.S. at 546, that Section 6201

occupies a unique place in the Code, in that it equates taxes with

assessable penalties for assessment purposes but not all purposes.

(Opening Br. 21-22.) Farhy refers to NFIB (Resp. Br. 21), but does not

squarely respond to the Commissioner’s point regarding the case.

Farhy points out (Resp. Br. 21) that the Supreme Court’s statement

about Section 6201 was made in the context of determining that the

“individual mandate” in I.R.C. § 5000A(b)(1) is a penalty and not a tax

for purposes of the Anti-Injunction Act, but he does not engage with the

Court’s discussion of Section 6201. To be sure, I.R.C. § 5000A(g)

provides that the individual mandate should be assessed and collected



                                                                      15256057.1
USCA Case #23-1179   Document #2035882        Filed: 01/17/2024   Page 25 of 30
                                    -19-

in the same manner of taxes—but that does not alter the Supreme

Court’s acknowledgment in NFIB that Section 6201(a) authorizes

assessment of taxes and penalties. And, as discussed (Opening Br. 26-

27), a provision (such as Section 5000A(g)) which specifies the means of

collecting a penalty is not inconsistent with a broad grant of assessment

authority in Section 6201(a).

      2.   The Commissioner also argued that the legislative history of

the Internal Revenue Code of 1954 shows that Congress did not intend

any material change regarding the scope of the IRS’s pre-existing

authority to assess penalties. (Resp. Br. 21-24.) As we explained, in the

legislative history of the 1954 Code, Congress noted two material

changes from the predecessor to Section 6201(a)—but did not note any

material change regarding the scope of assessment authority over

penalties, despite the change in language. Farhy does not deny this

legislative history, but solely asserts that Congress “did not state a lot

of things about these changes” and “[w]hat they did state was irrelevant

to our problem.” (Resp. Br. 24.) Congress’s statements that it had

made two specific material changes in Section 6201 are not “irrelevant.”

Rather, those statements are evidence that other changes in the text of



                                                                        15256057.1
USCA Case #23-1179   Document #2035882       Filed: 01/17/2024   Page 26 of 30
                                   -20-

Section 6201(a) were not material changes. See, e.g., United States v.

Foster Lumber Co., 429 U.S. 32, 46 (1976) (where legislative history

noted other material changes, “the complete failure of the Committee

Reports in any way to indicate the shift in policy the respondent claims

to discern in the 1954 Code revision” was persuasive evidence against

the respondent’s interpretation); United States v. Basye, 410 U.S. 441,

453 n.14 (1973) (“Nothing in the legislative history suggests that any

substantive change was intended by the deletion of this phrase from the

1954 Code revisions.”). This, in turn, implies that Congress did not

intend “all taxes (including…)” to be materially different from the prior

phrase, “taxes and penalties.”

      Farhy notes that the Section 6038(b) penalty did not exist in 1954.

(Resp. Br. 24.) However, the question here is how to interpret the text

of Section 6201(a). Under the language of Section 6201(a)’s predecessor,

the IRS was authorized “make the inquiries, determinations, and

assessments of all taxes and penalties imposed by this title, or accruing

under any former internal revenue law.” I.R.C. § 3640 (1939) (emphasis

added). That language plainly would apply to the Section 6038(b)

penalty, which is a “penalt[y] imposed by this title.” The fact that



                                                                       15256057.1
USCA Case #23-1179   Document #2035882       Filed: 01/17/2024   Page 27 of 30
                                   -21-

Congress did not cite any material change to the scope of the IRS’s

penalty assessment authority in the legislative history of Section

6201(a) supports our argument that Section 6201(a) should be

interpreted as providing the same penalty assessment authority as did

its predecessor. That penalty assessment authority should cover

penalties, such as Section 6038(b), which would have been covered by

Section 6201(a)’s predecessor—regardless of when those penalties were

first enacted.

      3.   As the Commissioner argued in his opening brief (at 27), it is

reasonable to infer that, along with administering the penalty, the IRS

is expected to assess and collect it in the absence of any statutory

instruction to the contrary. Farhy responds by conceding that the IRS

is permitted to administer the penalty but contending that the IRS is

not permitted to assess it. (Resp. Br. 25-27.) Again, the same provision

that permits the IRS to administer the penalty (Section 6201(a)) also

allows the IRS to assess it.

      4.   Finally, Farhy alludes to the “major questions” doctrine,

citing West Virginia v. EPA, 142 S. Ct. 2587, 2609 (2023), but there can

be no real dispute that Congress granted the Treasury Secretary broad



                                                                       15256057.1
USCA Case #23-1179   Document #2035882        Filed: 01/17/2024   Page 28 of 30
                                    -22-

powers to assess tax-related penalties. (Resp. Br. 10.) Rather, the

question is simply whether the indisputably broad grant in Section

6201(a) covers the particular penalty at issue.

      As discussed in our opening brief (at 20), the information

reporting required under Section 6038 assists the IRS in determining

whether taxpayers have reported all of their income from foreign

businesses, which Farhy admitted he failed to do (Opening Br. 7). He

owed additional taxes as a result (JA242 n.3), and he was also assessed

fixed-dollar penalties for his willful failure to report under Section

6038(b). This critical tax-enforcement penalty has been assessed by the

IRS since its enactment in 1982. In that 40-year period, Congress has

never seen fit to stop the IRS from doing so, despite making other

amendments to Section 6038, including increasing the penalty to its

current maximum amount in 1997. (See Opening Br. 5-7, 28-29 & n.4.)




                                                                         15256057.1
USCA Case #23-1179   Document #2035882          Filed: 01/17/2024   Page 29 of 30
                                   -23-

                            CONCLUSION

      For the foregoing reasons, the decision of the Tax Court should be

reversed and remanded with instructions to enter decision in favor of

the Commissioner.

                          Respectfully submitted,

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                          /s/ Robert J. Wille

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                                                                          15256057.1
USCA Case #23-1179    Document #2035882      Filed: 01/17/2024   Page 30 of 30
                                   -24-

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